3:22-cv-03071-CRL-KLM # 57-3   Filed: 05/10/24   Page 1 of 2




               EXHIBIT N
5/9/24, 11:43 PM         3:22-cv-03071-CRL-KLM # 57-3      Filed:
                                                  Mail - Spencer   05/10/24
                                                                 Sheehan - Outlook Page 2 of 2



       Re: Davis v. Ricola 22-cv-03071
       Spencer Sheehan <spencer@spencersheehan.com>
       Sun 12/10/2023 11:28 AM
       To:​Sascha Henry <shenry@sheppardmullin.com>​
       I thought maybe bc it says attorneys eyes only on gafner report maybe was it filed on public docket in
       error

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       From: Spencer Sheehan <spencer@spencersheehan.com>
       Sent: Saturday, December 9, 2023 1:47:30 AM
       To: Sascha Henry <shenry@sheppardmullin.com>
       Subject: Re: Davis v. Ricola 22-cv-03071

       In the filed version I redacted one or two sentences. I’m surprised your expert report listed as for
       attorneys eyes only is freely available on the docket and not sealed or redacted.

       I bring this to your attention perhaps that was intentional it’s not my place to decide that. But if you’d
       like to seal It or anything that is fine. If anything in the brief I filed you feel should be sealed or
       redacted please tell me I’ll do so promptly and notify court. Thanks.

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       From: Spencer Sheehan
       Sent: Saturday, December 9, 2023 1:30:55 AM
       To: Sascha Henry <shenry@sheppardmullin.com>
       Subject: Davis v. Ricola 22-cv-03071

       Dear Sascha,

       I regret I am providing this to you 28 minutes after the time it was due. I will be glad to extend any time for a reply
       brief on your side. Thank you.

       Spencer




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